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                                                                          Thursday, 12 July, 2018 12:42:16 PM
                                                                                Clerk, U.S. District Court, ILCD

                          UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS
                               SPRINGFIELD DIVISION

 SAJIDA AHAD, MD, et al and all others similarly          )
 situated                                                 )
                          Plaintiffs,                     )
 v.                                                       )
                                                          )   No.    15-cv-03308-SEM-TSH
 BOARD OF TRUSTEES OF SOUTHERN                            )
 ILLINOIS UNIVERSITY and SIU PHYSICIANS                   )
 & SURGEONS, INC.,                                        )
                                                          )
                                Defendants.               )

         PLAINTIFFS’ MOTION FOR LEAVE TO FILE A REPLY INSTANTER

       Dr. Sajida Ahad, Dr. Jan Rakinic, Dr. Erica Rotondo, and Dr. Christina Vassileva,

collectively “Plaintiffs,” hereby move the Court, for leave to file the attached reply brief instanter

in support of their motions for a settlement conference and for an extension of time to respond to

Defendants’ motion for decertification (Dkt. 89).

       Through their proposed reply, Plaintiffs propose alternative relief that accommodates

concerns Defendants raise in their Response (Dkt. 91). Specifically, the proposed alternative relief

accommodates the need for Defendants’ settlement-stakeholders to address internal conflicts,

while still ensuring the parties have sufficient time to prepare their remaining brief(s) on

Defendants’ motion for decertification and Defendants’ concerns about wanting to review

Plaintiffs’ response to the decertification motion.

       Accordingly, Plaintiffs respectfully request that the Court grant Plaintiffs leave to file their

reply (attached as Exhibit A) instanter.

       Respectfully submitted this 12th day of July, 2018.

                                               /s/ J. Bryan Wood
                                               One of Plaintiffs’ Attorneys



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J. Bryan Wood (No. 6270845)
Ryan O. Estes
The Wood Law Office, LLC
303 West Madison, Ste. 2650
Chicago, Illinois 60606
Telephone: (312) 554-8600
Facsimile: (312) 577-0749
bryan@jbryanwoodlaw.com

Michael F. Brown (WI Bar No. 1041753)
DVG Law Partner LLC
P.O. Box 645
Neenah, WI 54957
Telephone: (920) 757-2488
Facsimile: (920) 273-6177
mbrown@dvglawpartner.com

                                 CERTIFICATE OF SERVICE

       On July 12, 2018, the undersigned served the attached motion and all exhibits thereto on

all counsel of record by filing it via the Court’s electronic case filing system.

                                                               /s/ J. Bryan Wood




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